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15                                  UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA

17                                       SAN FRANCISCO DIVISION
18
19   NATIONAL TPS ALLIANCE, et. al.,                Case No. 3:25-cv-1766-EMC

20                          Plaintiff,
           v.                                       DEFENDANTS’ MOTION FOR RELIEF FROM
21                                                  NONDISPOSITIVE PRETRIAL ORDER OF
     KRISTI NOEM, in her official capacity as       THE MAGISTRATE (ECF No. 220)
22
     Secretary of Homeland Security, et. al.,
23                                                  Judge: Hon. Edward M. Chen
                             Defendants.
24

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28   DEFS.’ MOTION FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER OF THE MAGISTRATE (ECF No. 220)
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 1                                             INTRODUCTION

 2          On June 24, 2025, Magistrate Judge Kim issued an Order Regarding Non-Responsiveness (the

 3 “Order”) with respect to the parties’ discovery disputes. ECF No. 220. Among other things, the Court

 4 directed Defendants to provide declarations under penalty of perjury by July 3, 2025, from the Secretary

 5 of Homeland Security, Kristi Noem, and one of her senior advisors, Corey Lewandowski, averring that

 6 they did not use personal devices to communicate about TPS status for Venezuelans and Haitians. ECF

 7 No. 220 at ¶ 4.

 8          Defendants respectfully submit that the Court’s ruling in this regard—which Plaintiffs did not

 9 request in their draft order—was clearly erroneous for two reasons. First, the directive is duplicative of

10 the declaration already provided by Joseph Mazzara, Acting General Counsel for the Department of

11 Homeland Security (DHS), and is therefore unduly burdensome. Second, an order requiring executive

12 officials to submit declarations regarding discovery matters constitutes judicial overreach. Defendants

13 therefore request that this provision of the Order be set aside immediately and Defendants be relieved of

14 the obligation to require Secretary Noem and Mr. Lewandowski to provide declarations. If the Court

15 denies this motion, Defendants request a 14-day extension of the deadline for providing declarations from

16 Secretary Noem and Mr. Lewandowski to allow Defendants to seek authorization for further review.

17                                              BACKGROUND

18          On May 29, 2025, the District Court ordered Defendants to file declarations that addressed whether

19 certain custodians, including Secretary Noem and Senior Advisor Corey Lewandowski, used personal

20 devices to discuss matters related to TPS decisions. ECF No. 161. Specifically, the Court directed

21 Defendants to submit “a declaration(s) from a person(s) with personal knowledge certifying that the

22 inquiry was made and what the responses of … the custodians were.” Id. In response, Defendants

23 submitted a declaration by Kateland Jackson, Chief of Staff at the DHS Office of General Counsel, and

24 Heather Martin, Acting Deputy Chief of Staff at U.S. Citizenship and Immigration Services (USCIS),

25 regarding the custodians’ use of personal devices for work purposes. ECF Nos. 182-1 at ¶ 3d, 182-2 at

26 ¶ 3.

27          On June 6, 2025, the District Court held that the Jackson and Martin declarations were insufficient

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 1 because the declarants did not state that they discussed the matter of using their personal devices with the

 2 custodians directly. ECF No. 183.

 3          In response, on June 10, 2025, Defendants filed a declaration by Joseph Mazzara, Acting General

 4 Counsel at DHS, who stated, under penalty of perjury, as follows:

 5          The following court-ordered custodians currently work at DHS: Secretary Noem, Deputy
            Secretary Edgar, and Corey Lewandowski. I asked them whether they used personal email,
 6          messaging on a personal phone, or messaging on a work phone with respect to the TPS decisions
            at issue in this litigation.
 7

 8                  Secretary Noem, Deputy Secretary Edgar, and Mr. Lewandowski responded that, to the
                    best of their recollection: no, and there was no use of messaging on their work phone with
 9                  respect to the TPS decision-making. They also said that it was not their practice to use any
                    of their personal devices or emails for official business.
10
                    ECF No. 189-1 at ¶ 2a.
11
            The Mazzara Declaration fully complied with the Court’s directive that Defendants provide “a
12
     declaration(s) from a person(s) with personal knowledge certifying that the inquiry was made and what
13
     the responses of … the custodians were.” ECF No. 161. The declaration also complied with the Court’s
14
     directive that the declarant must have personally and directly made the inquiry to the custodians. ECF No.
15
     183.
16
            On June 24, 2020, this Court entered an Order Regarding Non-Responsiveness, which directed
17
     Secretary Noem and Mr. Lewandowski themselves to “provide declarations under penalties of perjury that
18
     they did not use personal devices to communicate about the TPS status for Venezuelans and Haitians by
19
     July 3, 2025.” ECF No. 220 at ¶ 4.
20
                                                LEGAL STANDARD
21
            Federal Rule of Civil Procedure 72(a) permits Defendants to submit objections to magistrate judge
22
     orders on non-dispositive matters—like discovery orders—to the court within 14 days after the entry of
23
     the order. “The district judge in the case must consider timely objections and modify or set aside any part
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     of the order that is clearly erroneous or is contrary to law.” Fed. R. Civ. P. 72(a).
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28   DEFS.’ MOTION FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER OF THE MAGISTRATE (ECF No. 220)
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 1                                                ARGUMENT

 2 I.       THIS COURT’S RULING IS DUPLICATIVE AND UNDULY BURDENSOME BECAUSE
 3          DEFENDANTS HAVE ALREADY COMPLIED BY PROVIDING A DECLARATION
            FROM THE ACTING GENERAL COUNSEL
 4

 5          Judge Kim’s ruling that Defendants must provide declarations under penalty of perjury from

 6 Secretary Noem and Corey Lewandowski stating that they did not use personal devices to communicate

 7 about the TPS status for Venezuelans and Haitians is duplicative of the Mazzara Declaration, which was

 8 signed under penalty of perjury and fully complied with the Court’s directives—specifically, that

 9 Defendants provide “a declaration(s) from a person(s) with personal knowledge” who “directly

10 questioned” the custodians and stated “what the responses of … the custodians were.” ECF Nos. 183, 189-

11 1.

12          Judge Kim’s burdensome directive is contrary to the prescriptions in Rule 26 that discovery must
13 be proportional to the needs of the case and that “the frequency or extent of discovery” must be limited if

14 it is “is unreasonably cumulative or duplicative, or can be obtained from some other source that is more

15 convenient, less burdensome, or less expensive.” Fed. R. Civ. P. 26(b)(2)(C). Here, the information sought

16 from Secretary Noem and Mr. Lewandowski would merely restate the information already submitted to

17 this Court in the Mazzara Declaration. ECF No. 189-1 at ¶ 2a. Accordingly, the Court has improperly

18 directed Defendants to provide additional discovery that is unreasonably cumulative and duplicative
19 contrary to Rule 26(b)(2)(C). See Doe v. Eating Recovery Ctr. LLC, No. 23-CV-05561-VC (LJC), 2025

20 WL 754061, at *1 (N.D. Cal. Mar. 10, 2025) (where the relevant information was already provided in a

21 declaration, the court rejected defendant’s request for a deposition because defendant failed to show that

22 “a deposition would resolve that issue or supply other pertinent information not already covered by the

23 declaration”); see also In re Soc. Media Adolescent Addiction/Personal Injury Products Liab. Litig., No.

24 22-MD-03047-YGR (PHK), 2025 WL 1427958, at *7 (N.D. Cal. May 19, 2025) (holding that the

25 discovery documents being sought were unnecessarily duplicative since extensive discovery had already

26 been conducted related to the topics at issue); In re Soc. Media Adolescent Addiction/Personal Injury

27 Products Liab. Litig., No. 22-MD-03047-YGR (PHK), 2024 WL 4771404, at *3 (N.D. Cal. Nov. 12,

28   DEFS.’ MOTION FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER OF THE MAGISTRATE (ECF No. 220)
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 1 2024) (“Plaintiffs’ demand for Meta to identify an unlimited number of additional custodians is

 2 duplicative (because two school-related custodians have already been identified)).

 3 II.      REQUIRING SECRETARY NOEM TO SUBMIT A DECLARATION ON ISSUES OF
            DISCOVERY IS JUDICIAL OVERREACH
 4
            Requiring executive branch officials—particularly high-ranking ones—to submit declarations in
 5
     judicial discovery disputes constitutes judicial overreach. Such a requirement infringes upon the
 6
     constitutional separation of powers by compelling executive officials to participate directly in the judicial
 7
     process in a manner that undermines the independence and integrity of the executive branch. See Morrison
 8
     v. Olson, 487 U.S. 654, 693 (1988) (recognizing the importance of maintaining the separation of powers
 9
     even where interbranch cooperation is necessary).
10
            Courts have recognized the special status of high-ranking government officials, often shielding
11
     them from compulsory testimony or unnecessary judicial entanglement. See United States v. Morgan, 313
12
     U.S. 409, 422 (1941) (establishing that “it is not the function of the court to probe the mental processes of
13
     an executive official.”). Indeed, courts generally disfavor compelling declarations or depositions from
14
     high-ranking officials absent extraordinary need. See Simplex Time Recorder Co. v. Secretary of Labor,
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     766 F.2d 575, 586 (D.C. Cir. 1985) (Refusing to call as witnesses “top Department [] officials fits within
16
     the rule enunciated by the Supreme Court”). And it is well-settled that compelling high-ranking
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     government officials to directly respond to a discovery request is inappropriate “absent extraordinary
18
     circumstances” warranting such a request, especially when such a request creates “tremendous potential
19
     for abuse or harassment.” Apple, Inc. v. Samsung Elecs. Co., Ltd., 282 F.R.D. 259, 263 (N.D. Cal. Apr. 4,
20
     2012); see also Warzon v. Drew, 155 F.R.D. 183, 185 (E.D. Wis. May 17, 1994) (high-ranking government
21
     officials enjoy limited immunity from deposition as they “must be allowed the freedom to perform their
22
     tasks without the constant interference of the discovery process”). The purpose of this privilege is to ensure
23
     that the high-ranking officials are not “distracted…from their executive duties” and are not “unnecessarily
24
     burdened” by compelled depositions. In re U.S. Department of Education, 25 F.4th 692, 700-701 (9th Cir.
25
     2022) (noting that cabinet secretaries face a potentially greater amount of litigation than most other
26
     witnesses, and that “in order to protect officials from the constant distraction of testifying in lawsuits,
27

28   DEFS.’ MOTION FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER OF THE MAGISTRATE (ECF No. 220)
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 1 courts have required that defendants show a special need or situation compelling such testimony.”)

 2 (quoting In re United States, 985 F.2d 510, 512 (11th Cir. 1993)). Courts will allow responses to discovery

 3 requests from high-ranking officials only where the official has “unique first-hand, non-repetitive

 4 knowledge of the facts at issue in the case” and the party requesting “has exhausted other less intrusive

 5 discovery methods.” Apple Inc., 282 F.R.D. at 263 (internal quotation marks omitted). Neither is the case

 6 here.

 7          Here, again, any declaration from Secretary Noem or Mr. Lewandowski would be entirely

 8 duplicative of the information provided in the Mazzara Declaration, which similarly requested a response

 9 from both individuals regarding their personal device usage with respect to the TPS decisions at issue. See

10 ECF. 189-1 at 2 (declaring that Secretary Noem, Deputy Secretary Edgar, and Corey Lewandowski

11 responded “no…it is not their practice to use any of their personal devices or emails for official

12 business.”). Indeed, the Acting General Counsel of a Cabinet agency, himself, is a high-ranking official

13 and has already attested to his personal knowledge of this matter, under penalty of perjury under 28 U.S.C.

14 § 1746. Thus, neither the Secretary’s nor Mr. Lewandowski’s declarations would produce “unique, first-

15 hand knowledge” that could possibly justify such an intrusion into the decision-making of a government

16 official. And the Mazzara Declaration demonstrates that less-intrusive means of seeking this information

17 not only exists but has already been obtained. Requiring Secretary Noem and Mr. Lewandowski to submit

18 declarations would significantly burden Defendants and disrupt high-ranking officials’ executive duties,
19 particularly where such information has previously been submitted to the Court and no party has even

20 requested the duplicative declarations.

21          Compelling executive branch officials to submit declarations regarding discovery imposes an

22 undue burden, risks violating executive privilege, and breaches the constitutional separation of powers.

23 The judiciary must exercise restraint and respect institutional boundaries that safeguard the independence

24 of each branch. Therefore, Defendants respectfully request reconsideration of Judge Kim’s June 24th

25 discovery order with respect to the declarations of Secretary Noem and Corey Lewandowski. If the Court

26 denies this motion, Defendants request a 14-day extension of the deadline for providing declarations from

27 Secretary Noem and Mr. Lewandowski in order to permit Defendants to seek further review.

28   DEFS.’ MOTION FOR RELIEF FROM NONDISPOSITIVE PRETRIAL ORDER OF THE MAGISTRATE (ECF No. 220)
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 1

 2   Dated: June 26, 2025                         Respectfully submitted,

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15                                 UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA

17                                     SAN FRANCISCO DIVISION
18   NATIONAL TPS ALLIANCE, et al.,
19                                                  Case No. 3:25-cv-1766-EMC
                            Plaintiff,
20          v.
     KRISTI NOEM, in her official capacity as       [PROPOSED] ORDER GRANTING
21   Secretary of Homeland Security, et al.,        MOTION TO STAY FURTHER
                                                    DISTRICT COURT PROCEEDINGS
22
                             Defendants.
23

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28 [PROPOSED] ORDER
   No. 3:25-cv-1766-EMC
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 1         Before the Court is Defendants’ motion for relief from the nondispositive pretrial order of the

 2 Magistrate (ECF No. 220). Having reviewed the motion, IT IS ORDERED that Defendant motion is

 3 GRANTED and Defendants do not need to submit a declaration from either Secretary Noem or Corey

 4 Lewandowski.

 5

 6 Issued this ___ day of June, 2025.

 7
                                                            Edward M. Chen
 8                                                          United States District Judge
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28 [PROPOSED] ORDER
   No. 3:25-cv-1766-EMC
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